  Case: 1:18-cr-00185 Document #: 189 Filed: 10/02/20 Page 1 of 15 PageID #:1036




                           UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 UNITED STATES OF AMERICA,                                 )
                                                           )
                                         Plaintiff,        )   18 CR 185
                                                           )
                           vs.                             )   Judge Gary Feinerman
                                                           )
 TOBIAS DIGGS, MARVON HAMBERLIN, and                       )
 JOSHUA McCLELLAN,                                         )
                                                           )
                                      Defendants.          )

                             MEMORANDUM OPINION AND ORDER

       Tobias Diggs and Joshua McClellan are charged by indictment with several offenses

arising from their alleged involvement in the March 17, 2017 robbery of a Razny Jewelers store

in Hinsdale, Illinois. Doc. 1. The court suppressed GPS location data tied to a Lexus SUV that,

according to the Government, Defendants used to travel to and from the robbery. Docs. 77-78

(reported at 385 F. Supp. 3d 648 (N.D. Ill. 2019)). And the court declined to suppress other

evidence—including data from McClellan’s iPhone, information from Instagram and Facebook

accounts believed to be associated with Diggs and McClellan, and evidence found in the Lexus

SUV—that, according to Defendants, were the unlawful fruits of the GPS data. Docs. 116-117

(reported at 2020 WL 208826 (N.D. Ill. Jan. 14, 2020)). With Hamberlin a fugitive, Docs. 89-

90, a jury trial for Diggs and McClellan is set for October 13, 2020. Doc. 136.

       Presently before the court is the Government’s motion to admit certain co-conspirator

statements against Diggs and McClellan under Evidence Rule 801(d)(2)(E) and United States v.

Santiago, 582 F.2d 1128 (7th Cir. 1978). Doc. 145. Also before the court is the parties’ dispute

over whether Diggs’s spouse, Devinn Adams, may assert the spousal testimonial privilege at

trial. Id. at 22 n.12; Doc. 154 at 11-15; Doc. 163 at 2-4. The Government’s Rule 801(d)(2)(E)



                                                1
  Case: 1:18-cr-00185 Document #: 189 Filed: 10/02/20 Page 2 of 15 PageID #:1037




motion is conditionally granted, subject to the introduction at trial of the evidence underlying its

Santiago proffer, and Adams may not invoke the spousal testimonial privilege regarding events

to which she was a percipient witness from March 17-23, 2017.

                                           Background

       Pertinent here, Count One of the indictment charges that, beginning around January 2017

and continuing through April 2017, Defendants conspired among themselves and with others to

obstruct, delay, and affect commerce by robbery in violation of the Hobbs Act, 18 U.S.C.

§ 1951(a). Doc. 1 at 1-2. Specifically, Count One charges that Defendants and others: (1)

agreed to rob the Razny Jewelers store; (2) planned the robbery by surveilling the store,

communicating on their cell phones, and obtaining firearms; (3) executed the robbery by

brandishing firearms, communicating on their cell phones, using a getaway vehicle, and hiding

their identities; and (4) concealed their crimes by, among other things, hiding the getaway

vehicle and selling some of the stolen goods in Illinois and Georgia. Ibid.

       According to the Government, the evidence it proffers—including text messages, phone

call logs, web search histories, and cell-site location information—shows that several other

individuals were co-conspirators or joint participants in the charged conspiracy, making certain

of their statements admissible against Defendants under Rule 801(d)(2)(E). Doc. 145 at 3-4.

Among those statements are text messages obtained from McClellan’s iPhone that were sent

from January 2017 through March 2017 by Hamberlin, McClellan’s brother (“Johnny”

McClellan), a person called “James,” and a person called “Kanaris.” Id. at 14-22. Defendants

stated at the motion hearing, Doc. 183, that they do not challenge the admissibility of those text

messages, so the Government’s motion is granted as to them.




                                                  2
  Case: 1:18-cr-00185 Document #: 189 Filed: 10/02/20 Page 3 of 15 PageID #:1038




       Defendants object to the Government’s motion insofar as it seeks to admit certain out-of-

court statements by Adams. Doc. 154 at 7-11. The parties also dispute whether Adams—who

married Diggs at some point after he was charged in this case—may invoke the spousal

testimonial privilege at trial. Doc. 145 at 22 n.12; Doc. 154 at 11-15; Doc. 163 at 2-4. On both

points, the Government proffers evidence intended to show that Adams—the Lexus SUV’s

registered owner and Diggs’s then-girlfriend—agreed to help him conceal the Lexus and took

steps to obtain a rental car that Defendants could use to travel to Atlanta, Georgia to sell the

stolen items. Doc. 145 at 22-25; Doc. 163 at 4-10. The pertinent evidence is as follows.

       The robbery took place just after 10:00 a.m. on March 17, 2017. Doc. 145 at 2-3;

Doc. 154-1 at 1. At 3:08 p.m. that day, Diggs called Adams, who at the time was in Michigan

with her mother and stepfather. Doc. 145 at 23; Doc. 154-1 at 6, 9. According to the statement

she later gave to the Hinsdale police, Diggs told Adams on that call that he had just “hit a j-spot”

or “busted a j-move” and that she needed to return to Chicago to pick up the Lexus because it

was “heated up” and “all over the news.” Doc. 163 at 6; Doc. 154-1 at 6-8. At 3:17 p.m.,

Adams began a series of text messages with her stepfather. Doc. 145 at 23. In the first message,

Adams asked, “what time ru getting off work today.” Ibid. While awaiting his response, Adams

called Diggs. Ibid. Her stepfather later responded, “I just got done,” and Adams replied, “do u

think you could run us back possibly.” Ibid. Her stepfather responded that he had experienced a

“rough one at work today” but that “tomorrow [he] could.” Ibid. Adams called Diggs about ten

minutes later, and then Diggs called Adams. Ibid. Adams later told the police that, at some

point during their phone calls, Diggs told her not to worry about the Lexus because “someone

was going to take care of it.” Doc. 163 at 7; Doc. 154-1 at 7-8. At 4:44 p.m., video surveillance




                                                  3
  Case: 1:18-cr-00185 Document #: 189 Filed: 10/02/20 Page 4 of 15 PageID #:1039




captured “Individual B” parking the Lexus in a hospital parking lot. Doc. 163 at 7. The Lexus

ultimately was recovered from Individual B’s garage. Id. at 7 n.5.

       The next day, March 18, Adams conducted a web search on her phone for details about

the Razny Jewelers robbery. Doc. 145 at 23-24. At 11:25 a.m., she received a text message

from her mother. Ibid. The message stated: “Dad said he can take you home in about an hour or

he can take you tomorrow [March 19] … or I can take you Tuesday [March 21].” Id. at 24.

About 20 minutes later, Adams and Diggs had three calls that lasted 11 seconds, 22 seconds, and

15 minutes. Ibid.

       Adams and Diggs again spoke by phone at 8:50 p.m. on March 18. Ibid. About thirty

minutes later, Adams began web searches on her phone for “no credit card car rental,” Budget

car rental reservations, and “south bend regional airport budget car rental.” Ibid. During the

web searches, Adams called the phone number for a Budget facility in South Bend, Indiana.

Ibid. After the web searches, she called the general customer service line for Budget and phoned

Diggs immediately thereafter. Ibid. At 10:01 p.m., McClellan received a text message from

“Johnny” stating, “We gone move out in a couple of hours.” Doc. 163 at 9. McLellan texted

“Johnny” back at 10:27 p.m. to let him know that “everything is good with the whip [car].” Ibid.

       Adams agreed to speak with the Hinsdale police on March 23. Id. at 4; Doc. 154-1 at 6.

During the first hour, Adams pretended to know nothing about the robbery. Doc. 163 at 4-5.

She told the police that she had been in Michigan for the last eight days, that her Lexus had

broken down a few days before she left Chicago for Michigan, and that Diggs had told her that

the Lexus was in the shop being fixed. Id. at 5. When pressed further, Adams added that she did

not know where her vehicle was or when she expected it to be repaired. Ibid. Eventually,

Adams admitted to the police that she knew about the robbery. Ibid. She explained that she had




                                                 4
     Case: 1:18-cr-00185 Document #: 189 Filed: 10/02/20 Page 5 of 15 PageID #:1040




asked her stepfather to give her a ride to Chicago after receiving a call from Diggs telling her to

come to Chicago retrieve her Lexus because it was on the news. Ibid.; Doc. 154-1 at 6.

         The following day, March 24, Adams again met with the Hinsdale police and gave them

permission to download the contents of her phone. Doc. 163 at 6; Doc. 154-1 at 6-7. The

Hinsdale police conducted a follow-up interview with Adams on March 26. Doc. 154-1 at 7-8.

She recounted the same narrative from March 23 and added that, before Diggs asked her to

return to Chicago to get her Lexus, he remarked that he had “hit a j-spot” or “busted a j-move”

while speaking quickly and whispering. Ibid.; Doc. 163 at 6.

         About two weeks later, on April 4, Adams called Headers Auto Sales—which had sold

her the Lexus on credit—to report that it had been stolen. Doc. 145 at 24. As of March 2017,

Adams was still making weekly payments on the vehicle. Ibid. When a Headers employee

asked her for a police report, Adams said that she would have to call back. Id. at 24-25.

         Adams appeared by subpoena before the grand jury on December 7, 2017. Doc. 163 at 6;

Doc. 154-2. She testified that Diggs called her the day of the robbery to tell her that he had

“busted a j-move,” that her Lexus was on the news, and that she needed to return to Chicago.

Doc. 163 at 7; Doc. 154-2 at 11. Adams also testified that she then called her cousin to ask for a

ride to Chicago and began calling rental car businesses. Doc. 163 at 7; Doc. 154-2 at 12. Adams

added that her cousin “didn’t answer and then [she] kind of sat down for a second and realized

that [going to Chicago] was not a good idea.” Doc. 154-2 at 12.

                                            Discussion

I.       Rule 801(d)(2)(E) Motion

         Rule 801(d)(2)(E) provides that an out-of-court statement “offered against an opposing

party” is not hearsay if it was “made by the party’s coconspirator during and in furtherance of the

conspiracy.” Fed. R. Evid. 801(d)(2)(E). To invoke the Rule in a criminal case, the Government


                                                 5
  Case: 1:18-cr-00185 Document #: 189 Filed: 10/02/20 Page 6 of 15 PageID #:1041




must “prove[] by a preponderance of the evidence that (1) a conspiracy existed; (2) the defendant

and the declarant were members of the conspiracy; and (3) the statement was made during the

course and in furtherance of the conspiracy.” United States v. Cruz-Rea, 626 F.3d 929, 937 (7th

Cir. 2010). “Under long-settled circuit law, a district court may admit co-conspirator statements

conditionally based on the government’s pretrial proffer, known in this circuit as a ‘Santiago

proffer.’” United States v. Davis, 845 F.3d 282, 286 (7th Cir. 2016) (citing United States v.

Santiago, supra). “If at the close of its case the prosecution has not met its burden to show that

the statements are admissible, the defendant can move for a mistrial or to have the statements

stricken.” United States v. Haynie, 179 F.3d 1048, 1050 (7th Cir. 1999).

       To satisfy the first two requirements of Rule 801(d)(2)(E)—that a conspiracy existed, and

that the defendant and the declarant were members of the conspiracy—the Government must

prove, and the court must find under Rule 104, that the defendant and the declarant were either

co-conspirators or joint participants in a criminal venture. See United States v. Kelley, 864 F.2d

569, 573 (7th Cir. 1989). “Rule 801(d)(2)(E) applies not only to conspiracies but also to joint

ventures, and … a charge of criminal conspiracy is not required to invoke the evidentiary rule.”

Ibid. In deciding whether the Government has met its burden, “a district court is allowed to

consider the statements themselves as evidence of the conspiracy,” United States v. Harris, 585

F.3d 394, 398 (7th Cir. 2009) (citing Bourjaily v. United States, 483 U.S. 171, 180 (1987)), but

“the record must also contain independent evidence corroborating the existence of the conspiracy

and the participation of defendant and declarant,” Davis, 845 F.3d at 286. See Fed. R. Evid.

801(d)(2) (“The [out-of-court] statement must be considered but does not by itself establish …

the existence of the conspiracy or participation in it under (E).”).




                                                  6
  Case: 1:18-cr-00185 Document #: 189 Filed: 10/02/20 Page 7 of 15 PageID #:1042




       The evidence required to prove by a preponderance of the evidence the first two

requirements of Rule 801(d)(2)(E) need not rise to the level of “what must be proved [beyond a

reasonable doubt] in order to convict a person of the crime of conspiracy.” United States v. Gil,

604 F.2d 546, 549 (7th Cir. 1979). There nonetheless is some conceptual overlap between

substantive conspiracy law and Rule 801(d)(2)(E) as it pertains to those two requirements. See

United States v. Arrellano, 757 F.3d 623, 634 (7th Cir. 2014) (holding that the Government “met

its burden under the lesser preponderance standard” to show the defendant’s membership in a

conspiracy under Rule 801(d)(2)(E) given that it had proved beyond a reasonable doubt the

defendant’s guilt of engaging in the conspiracy). For one, “to be a member of a conspiracy, a

person does not need to know or participate in every detail of the conspiracy, or to know all the

conspiracy’s members.” United States v. Sophie, 900 F.2d 1064, 1080 (7th Cir. 1990).

Moreover, membership in a conspiracy or joint venture may be proved by either direct or

circumstantial evidence. See Davis, 845 F.3d at 288 (relying on circumstantial evidence to show

membership in and existence of a conspiracy under Rule 801(d)(2)(E)); see also United States v.

Pust, 798 F.3d 597, 603 (7th Cir. 2015) (“[C]ircumstantial evidence is often the only proof

available when no members of the conspiracy testify against their co-conspirators.”).

       As for Rule 801(d)(2)(E)’s third requirement—that the out-of-court statement be made

during the course and in furtherance of the conspiracy—the Government must prove, and the

court must find under Rule 104, “some reasonable basis … for concluding that the statement

furthered the conspiracy.” Cruz-Rea, 626 F.3d at 937 (internal quotation marks omitted). The

statement “need not have been exclusively, or even primarily, made to further the conspiracy,”

and may be admitted even if it “is susceptible to alternative interpretations.” Ibid. (internal

quotation marks omitted). Generally, any statement that is “part of the information flow between




                                                  7
  Case: 1:18-cr-00185 Document #: 189 Filed: 10/02/20 Page 8 of 15 PageID #:1043




conspirators intended to help each perform his role” will satisfy the requirement. United States

v. Alviar, 573 F.3d 526, 545 (7th Cir. 2009) (internal quotation marks omitted). “Some examples

include comments designed to assist in recruiting potential members, to inform other members

about the progress of the conspiracy, to control damage to or detection of the conspiracy, to hide

the criminal objectives of the conspiracy, or to instill confidence and prevent the desertion of

other members.” United States v. Elder, 840 F.3d 455, 459 (7th Cir. 2016) (quotation marks

omitted).

       As noted, Defendants oppose the Government’s Rule 801(d)(2)(E) motion only insofar as

it seeks admission of Adams’s out-of-court utterances. As an initial matter, much of what the

Government seeks to admit would not qualify as hearsay even putting aside Rule 801(d)(2)(E).

Rule 801(c) defines “hearsay” to mean “a statement that: (1) the declarant does not make while

testifying at the current trial or hearing; and (2) a party offers in evidence to prove the truth of

the matter asserted in the statement.” Fed. R. Evid. 801(c). Rule 801(a) defines “statement” to

mean “a person’s oral assertion, written assertion, or nonverbal conduct, if the person intended it

as an assertion.” Fed. R. Evid. 801(a). Thus, an utterance that is not an assertion is not a

statement and thus is not hearsay, and the same holds for a statement that is an assertion but that

the Government does not offer to prove the truth of the matter asserted in the statement.

       The Government seeks to offer into evidence Adams’s phone call logs, her phone’s web

search history, her text messages to her stepfather, and her statement to Headers that the Lexus

had been stolen. Doc. 145 at 24-26. The phone call logs and web search history plainly are not

“statements” under Rule 801(a), so they are not hearsay. See United States v. Wallace, 753 F.3d

671, 675 (7th Cir. 2014) (holding that a videotape of an attempted drug buy was not a

“statement” within the meaning of Rule 801(c)). The same is true of Adams’s statement to




                                                   8
  Case: 1:18-cr-00185 Document #: 189 Filed: 10/02/20 Page 9 of 15 PageID #:1044




Headers that her Lexus had been stolen, as the Government plans to offer the statement not for

its truth, but rather to show that Adams was lying. See United States v. Porter, 886 F.3d 562,

567 (6th Cir. 2018) (“[S]tatements that are offered to prove the falsity of the matter asserted are

not hearsay.”); United States v. Costa, 31 F.3d 1073, 1080 (11th Cir. 1994) (same); United States

v. Moore, 748 F.2d 246, 248 (5th Cir. 1984) (same).

       That leaves Adams’s two March 17 text messages to her stepfather: “what time ru getting

off work today,” and “do u think you could run us back possibly.” Doc. 145 at 23. Both

messages ask questions. In United States v. Love, 706 F.3d 832 (7th Cir. 2013), the Seventh

Circuit held “that questions are not ‘statements’ [under Rule 801(a)] and therefore are not

hearsay.” Id. at 840 (citing United States v. Thomas, 453 F.3d 838, 845 (7th Cir. 2006)). Last

month, however, the Seventh Circuit adopted a more nuanced approach, “elaborat[ing] on what

makes a remark a question rather than a statement.” United States v. Pulliam, __ F.3d __, 2020

WL 5247590, at *6 (7th Cir. Sept. 3, 2020). As the Seventh Circuit explained, “[a] defendant’s

remark is a question if it is designed to elicit information and a response,” but “[i]f the remark is

intended to assert information, it is a statement rather than a question.” Ibid. (internal quotation

marks and citations omitted). And the Seventh Circuit added that “the intent behind a remark

dictates whether it is a statement or a question for hearsay purposes,” and that “the context

surrounding the remark may help … ascertain the declarant’s intent.” Ibid.

       Adams’s remark, “what time ru getting off work today,” was designed to elicit

information and a response, meaning that it was a question, not an assertion, which in turn means

it is not hearsay. Adams’s remark, “do u think you could run us back possibly,” presents a closer

call, as it appears to be both an assertion (“I intend to return to Chicago”) and a question

designed to elicit information and a response (“Can you give me a ride back to Chicago”). It is




                                                  9
  Case: 1:18-cr-00185 Document #: 189 Filed: 10/02/20 Page 10 of 15 PageID #:1045




unnecessary to run this issue to ground, for even if that remark were an assertion and thus a

statement, it is not hearsay under Rule 801(d)(2)(E).

       As to the Rule’s first two requirements, the Government correctly submits that the

proffered evidence shows that Adams made herself a co-conspirator by attempting to “assist

Diggs in concealing the Lexus and securing a rental car to travel to Atlanta.” Doc. 163 at 4-10;

Doc. 145 at 22-25. As to concealing the Lexus, the evidence shows that within minutes of Diggs

telling her on March 17 that he had just “hit a j-spot” and needed her to come to Chicago to pick

up the vehicle, Adams initiated a text chain with her stepfather in which she asked him, “what

time r u getting off work today,” and, “do u think you could run us back possibly.” Doc. 145 at

23; Doc. 154-1 at 6, 7-8. Adams and Diggs’s other March 17 phone calls were very close in time

to her texts to her stepfather. Doc. 154-1 at 9. She called Diggs after asking her stepfather when

he would get off work, phoned Diggs again ten minutes after her stepfather turned down her

request for a ride that day to Chicago, and then received a return call from Diggs. Ibid.; Doc.

145 at 23. Indeed, after coming clean on March 23, Adams told the Hinsdale police that she had

asked her stepfather to give her a ride to Chicago after Diggs asked her to retrieve the Lexus.

Doc. 154-1 at 6-8. Taken together, this evidence shows by (at least) a preponderance of the

evidence that Adams agreed to help Diggs conceal the Lexus and took steps to follow through.

See Davis, 845 F.3d at 288 (relying on the fact that the defendant and the declarant had “multiple

phone conversations” on the day the crime was planned as “additional circumstantial evidence”

tying them to the conspiracy).

       Defendants retort that Adams’s actions on March 17 cannot show that she joined the

conspiracy because there no is no direct evidence that she facilitated the robbery’s concealment.

Doc. 154 at 2, 10. As Defendants see it, all Adams did in response to Diggs’s request to retrieve




                                                10
  Case: 1:18-cr-00185 Document #: 189 Filed: 10/02/20 Page 11 of 15 PageID #:1046




the Lexus was “send a single text,” and she did not ultimately retrieve the vehicle. Id. at 10. The

trouble with Defendants’ position is two-fold. First, “[t]he fact that much of [the Government’s]

evidence is circumstantial is beside the point” under Rule 801(d)(2)(E). United States v. Kaden,

819 F.2d 813, 819-20 (7th Cir. 1987) (affirming the district court’s granting the Government’s

Rule 801(d)(2)(E) motion based on circumstantial evidence of the conspiracy’s existence and the

defendant’s and the declarant’s participation therein). Second, a person’s membership in a

conspiracy is not judged by her success in achieving the conspiracy’s objectives. See United

States v. Schmucker-Bula, 609 F.2d 399, 401 (7th Cir. 1980) (“[I]t is an elementary principle of

conspiracy law that the criminal venture need not succeed for there to be criminal liability.”).

Indeed, the proffered evidence shows that Adams did not retrieve the Lexus because Individual

B—who was captured on video that afternoon parking the Lexus behind a hospital—undertook

the task. Doc. 163 at 7. Confirming the point, Adams later told the Hinsdale police that Diggs

had told her that “someone was going to take care of [the Lexus],” and the vehicle later was

found in Individual B’s garage. Id. at 7 & n.5; Doc. 154-1 at 7-8.

       The Government’s proffered evidence—specifically, Adams’s March 18 calls to Budget,

web searches for Budget and “no credit card car rental,” and contemporaneous calls with

Diggs—also shows that she agreed to help secure a rental car for Diggs and the others to drive to

Atlanta to sell the stolen goods and took steps to accomplish that goal. Adams began her web

search thirty minutes after speaking with Diggs and phoned him almost immediately after she

finished a call with Budget. Doc. 163 at 8. Contrary to Defendants’ submission, it is highly

unlikely that Adams conducted the web searches and called Budget to find a car to drive back to

Chicago because, several hours earlier, her mother had texted to tell her that her stepfather could




                                                11
  Case: 1:18-cr-00185 Document #: 189 Filed: 10/02/20 Page 12 of 15 PageID #:1047




give her a ride back to Chicago that day or the following day, and that her mother could give her

a ride in three days. Ibid.

       Defendants respond that Adams cannot have been a co-conspirator because the

Government did not charge her with any crimes, she cooperated with the Hinsdale police and

appeared before the grand jury, and she testified to the grand jury that her rental car inquiries

were for the purpose of exploring “ways to get back to [Chicago].” Doc. 154-2 at 12. Those

arguments fail. The Government need not “charge a conspiracy” in order to invoke Rule

801(d)(2)(E). United States v. Reynolds, 919 F.2d 435, 439 (7th Cir. 1990). Although Adams

ultimately assisted with the investigation, the fact that she initially denied knowledge of the

robbery and falsely claimed that her Lexus was “broken” strongly suggests that she was in on the

conspiracy and that her grand jury testimony regarding the purpose of her rental car inquiries

was untruthful or the product of confusion. See United States v. Hunte, 196 F.3d 687, 691 (7th

Cir. 1999) (finding sufficient evidence of the defendant’s participation in a drug transportation

conspiracy based in part on his “lying to police about [the group’s] destination and about [its]

association with [other co-conspirators]”); United States v. Lindemann, 85 F.3d 1232, 1240 (7th

Cir. 1996) (holding that the defendant was a co-conspirator under Rule 801(d)(2)(E) because the

fact that he “intentionally lied, and ordered his employees to lie, to insurance investigators” made

it “more likely than not that [he] was involved in the fraud”) (internal quotation marks omitted).

       Given all this, the court finds by a preponderance of the evidence that Adams conspired

with Defendants, at least during the March 17-23 time frame, to conceal an instrumentality of the

crime (the Lexus) and to find them a car to take the stolen goods to Atlanta. The court also finds

by a preponderance of the evidence that Adams’s remark, “do u think you could run us back

possibly,” was made in furtherance of that conspiracy. See United States v. Gajo, 290 F.3d 922,




                                                 12
  Case: 1:18-cr-00185 Document #: 189 Filed: 10/02/20 Page 13 of 15 PageID #:1048




928-29 (7th Cir. 2002) (holding that co-conspirator statements made “to avoid detection” by law

enforcement were properly admissible under Rule 801(d)(2)(E) as statements “in furtherance”);

Kaden, 819 F.2d at 820 (holding under Rule 801(d)(2)(E) that statements evidencing a co-

conspirator’s “attempt to conceal the fact that he was involved in starting the fire” were made in

furtherance of an arson conspiracy); United States v. Skidmore, 254 F.3d 635, 637-39 (7th Cir.

2001) (upholding the admission under Rule 801(d)(2)(E) of a co-conspirator’s statement to the

secretary of a gun shop that she purchased firearms on the defendant’s behalf because the

defendant had been in prison). That remark, even assuming it is a statement and not a question,

is therefore conditionally admitted under Rule 801(d)(2)(E).

II.    Adams’s Invocation of the Spousal Testimonial Privilege

        “There are two distinct marital evidentiary privileges under federal law: the marital

communications privilege and the adverse spousal testimonial privilege.” United States v.

Brock, 724 F.3d 817, 820 (7th Cir. 2013). The marital communications privilege “covers

information privately disclosed between husband and wife in the confidence of the marital

relationship.” Ibid. (internal quotation marks omitted). That privilege does not apply to

communications between Diggs and Adams during the January-March 2017 time frame because

the pair did not marry until after Diggs was charged in March 2018.

       That leaves the adverse spousal testimonial privilege, which Adams intends to invoke to

avoid testifying in any way against Diggs. Doc. 154 at 11 n.3. That privilege, which is broader

than the marital communications privilege, provides that a witness cannot be compelled to testify

against the person to whom she is married at the time of trial. See United States v. Byrd, 750

F.2d 585, 590 (7th Cir. 1984). “[S]hould the witness-spouse assert it, [the privilege] applies to

all testimony against a defendant-spouse, including testimony on nonconfidential matters and

matters which occurred prior to the marriage.” Ibid. “The modern justification for this privilege


                                                13
  Case: 1:18-cr-00185 Document #: 189 Filed: 10/02/20 Page 14 of 15 PageID #:1049




… is its perceived role in fostering the harmony and sanctity of the marriage relationship.”

Trammel v. United States, 445 U.S. 40, 44 (1980).

       To defeat Adams’s assertion of the privilege, the Government invokes the “joint

participants” exception, which applies where the witness-spouse and the defendant jointly

participated in the criminal conduct at issue. See United States v. Van Drunen, 501 F.2d 1393,

1397 (7th Cir. 1974). Defendants contend that Van Drunen, in which the Seventh Circuit

articulated the exception, did not survive the Supreme Court’s 1980 decision in Trammel. Doc.

154 at 11-14. But the Seventh Circuit has applied and reaffirmed the joint participants exception

in the years following Trammel. See United States v. Keck, 773 F.2d 759, 767 (7th Cir. 1985)

(applying the exception to defeat assertion of the privilege); Byrd, 750 F.2d at 594 (recognizing

that “the testimonial privilege do[es] not apply to communications made by spouses who are

joint participants in a crime”); United States v. Clark, 712 F.2d 299, 301 (7th Cir. 1983)

(addressing Trammel and “reject[ing] the holding of the Third Circuit that there should not be a

joint participants exception to the privilege not to testify against a spouse”); see also United

States v. Pineda-Mateo, 905 F.3d 13, 17 (1st Cir. 2018) (“[T]he Seventh Circuit continues to

recognize such an exception even after the Supreme Court’s decision in Trammel.”). That ends

the matter as far as a district court is concerned. See Reiser v. Residential Funding Corp., 380

F.3d 1027, 1029 (7th Cir. 2004) (“Just as the court of appeals must follow decisions of the

Supreme Court whether or not we agree with them, so district judges must follow the decisions

of [the Seventh Circuit] whether or not they agree.”); A Woman’s Choice-E. Side Women’s

Clinic v. Newman, 305 F.3d 684, 687 (7th Cir. 2002) (“[O]nly an express overruling relieves an

inferior court of the duty to follow decisions on the books.”).




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  Case: 1:18-cr-00185 Document #: 189 Filed: 10/02/20 Page 15 of 15 PageID #:1050




       The evidence showing that Adams was a co-conspirator for purposes of Rule

801(d)(2)(E) shows in equal measure that she was a joint participant in Diggs’s criminal conduct

for purposes of defeating her assertion of the spousal testimonial privilege. See Keck, 773 F.2d

at 756-57 (holding that the spousal testimonial privilege did not apply where both spouses were

“joint participants” in a drug-trafficking conspiracy); Clark, 712 F.2d at 300-302 (applying the

joint participants exception to defeat the assertion of the privilege where both spouses stole

money from a savings and loan). Adams therefore must testify about events that occurred while

she was a joint participant. She became a joint participant on March 17, when, after Diggs told

her about the robbery, she sought to assist him with concealing the Lexus and finding a rental car

for him to travel to Atlanta. In the Government’s view, Adams continued to be a joint

participant as late as April 4, when she told Headers that the Lexus had been stolen. Doc. 145 at

24-25. But as Defendants correctly note, Adams on March 23 told the Hinsdale police that

Diggs had used her car in connection with the robbery. Doc. 154-1 at 6. By engaging in the

“affirmative act” of “confessing to [the] authorities,” United States v. Maloney, 71 F.3d 645,

654-55 (7th Cir. 1995), Adams withdrew from the criminal enterprise on March 23.

Accordingly, Adams may be compelled to testify about events to which she was a percipient

witness from March 17-23, 2017, the time frame during which she was a joint participant.

                                            Conclusion

       The Government’s Rule 801(d)(2)(E) motion is conditionally granted, and Adams may

not invoke the spousal testimonial privilege regarding events to which she was a percipient

witness from March 17-23, 2017.



October 2, 2020                                       ____________________________________
                                                            United States District Judge


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